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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF KENTUCKY
                    CENTRAL DIVISION AT LEXINGTON

UNITED STATES OF AMERICA,           )
                                    )
     Plaintiff,                     )        Criminal Action No.
                                    )            5:11-141-JMH
v.                                  )
                                    )
BRYAN LAMONT CAMPBELL,              )
                                    )
     Defendant.                     )     MEMORANDUM OPINION & ORDER


                     **       **    **      **    **


     This matter is before the Court upon Defendant Campbell’s

Motion to Strike and Hold for Naught the Notice Regarding Enhanced

Statutory Punishment [DE 168].           The United States has filed a

Response [DE 171], and Defendant Campbell has filed a Reply [173]

in further support of his motion.           Having carefully considered

Campbell’s Motion, it will be denied for the reasons stated below.

     Defendant Campbell first complains that the United States has

erroneously named Shaquille Williams instead of him in the body of

the required § 851 notice and seeks relief on those grounds. Since

Campbell filed his Motion, the United States has filed an amended

notice [DE 172] which names Defendant Campbell in both the caption

of the case and the body of the notice.          Defendant Campbell does

not argue that he has been prejudiced in any way by this clerical

error or the timing of the amended notice filed by the United

States.

     21 U.S.C. § 851(a) “provides that no person convicted of an
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offense under the drug abuse prevention and control provisions

shall be sentenced to increased punishment by virtue of prior

convictions    unless    the   U.S.   Attorney     files    an   enhancement

information prior to trial.” United States v. Hill, 142 F.3d. 305,

312 (6th Cir. 1998).      The statute also provides that “[c]lerical

mistakes in the information may be amended at any time prior to the

pronouncement of sentence.”      See 21 U.S.C. § 851(a)(1).          Since the

statute clearly permits the amendment of the notice in this manner,

Campbell is not due any relief from the notice on this ground.              See

United States v. King, 127 F.3d 483, 488-89 (6th Cir. 1997)

(reversing    district   court   ruling   that   United     States    was   not

permitted to amend clerical mistake concerning date of earlier

conviction in § 851 notice prior to trial); see also United States

v. Baughan, 613 F.3d 291, 295 (D.C. Cir. 2010) (no prejudice to

defendant where § 851 notice incorrectly included name of co-

defendant rather than defendant as subject of prior convictions

where all other information, including case heading, case number,

and details of the prior convictions were correct and defendant

never asserted hardship or confusion as result of clerical error).

     Campbell next argues that the July 13, 2006, conviction listed

in the United States’ notice should not be considered because it

was a conviction for possession not trafficking or distributing.

However, from the materials provided to the Court, it is clear that

the charge and conviction were for First Degree Trafficking in a

Controlled Substance, namely cocaine, in Madison Circuit Court Case
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No. 2006 CR 0084-1.1      This Class C felony clearly falls within the

meaning of “felony drug offense” as defined by 21 U.S.C. § 802(44)

since the crime was punishable by imprisonment for more than one

year under a law “that prohibit[ed] or restrict[ed] conduct related

to narcotic drugs.”       See KRS 218A.1412, 532.060(2).

       Campbell next argues that the Court may not consider the

August 31, 1995, conviction listed in the United States’ notice

when determining whether any sentence should be enhanced under §

851.       He relies on the fact that the conviction is over ten years

old    and    argues   that    it   would    be   incongruous    to   consider     a

conviction of that vintage for the purposes of enhancement under 21

U.S.C. § 851 when that sentence would not be counted in the

calculation of his criminal history for sentencing purposes under

U.S.S.G. § 4A1.1(c).          The Court is not persuaded.

       21 U.S.C. § 851 provides no “age limit” on a prior conviction

for a felony drug offense – there is no ambiguity.                     Campbell’s

August 31, 1995, conviction for First Degree Trafficking in a

Controlled Substance, Cocaine, a Class C felony, may be properly

considered when evaluating the propriety of an enhancement under §


       1
        In its Response, the government has referred to Defendant
Campbell’s conviction in Madison Circuit Court criminal action
2006 CR 0084-1 as one for felony possession of a controlled
substance, a Class D felony under KRS 218A.145, punishable by at
least one but not more than 5 years imprisonment under KRS
532.020(1)(a). It appears that the United States has simply and,
perhaps, unwittingly parroted Defendant Campbell’s own error with
respect to the cited conviction since both the United States’ § 851
Notice and the attached materials indicate that the government
intends to rely upon a conviction for First Degree Trafficking in
a Controlled Substance, Cocaine, from that date.
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851.       See United States v. Pherigo, 327 F.3d 690, 696 (8th Cir.

2003) (holding that it was not error to rely on prior state felony

drug conviction more than ten years old when imposing enhanced

sentence following § 851 notice by government and declining to

apply the rule of lenity in interpreting the statute in the absence

of ambiguity); United States v. Carter, 2:07-cr-03-DLB, 2007 WL

2407270, *1 (E.D.Ky. Aug. 20, 2007) (considering convictions from

1988 when imposing an enhanced sentence under § 851 following a

2007 information alleging prior conviction).

       Further, to the extent that the difference between which prior

convictions can be considered for the purposes of § 851 and

U.S.S.G. 4A1.1(c) evidences inconsistency in sentencing policy,

this is not an adequate legal basis for relief from an § 851

notice.      United States v Whitelaw, 376 Fed. App’x 584, 591 (6th

Cir. 2010). Rather, Campbell “is making an argument as to general

sentencing policy, which does not entitle him to relief in this

particular case.” Id.

       Finally, Campbell argues that 21 U.S.C. § 851 is arbitrary and

capricious and, thus, violates his right to due process since

subsection (e) prohibits any challenge to a conviction which took

place more than five (5) years prior to the filing of an § 851

enhancement notice by the government.2       He has failed, however, to


       2
        As the Court understands it, Campbell’s challenge to his
earlier convictions would be based on the fact that he was neither
apprised of the existence of § 851 at the time of his prior
convictions nor was he advised that he might be subject to enhanced
sentencing during any subsequent federal proceedings as a result of
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offer any defense for his position in light of United States v.

Reed, 141 F.3d 644, 651-52 (6th Cir. 1998).             The panel in Reed

concluded that the five year time limit for collateral attacks on

prior convictions in § 851 is constitutional because “Congress

reasonably     circumscribed    the   statutorily     created     right    [to

collaterally attack a prior conviction] found in [§] 851" creating

a “‘reasonable limitation on defendants to effectuate the purposes

of sentence enhancement for recidivists and to eliminate a host of

problems with respect to ancient or destroyed records.’” Id. at 652

(quoting United States v. Gonzales, 79 F.3d 413, 426 (5th Cir.

1996)).     Thus, his claim for relief on this ground is denied as

well.

        Accordingly, IT IS ORDERED that Defendant Campbell’s Motion to

Strike and Hold for Naught the Notice Regarding Enhanced Statutory

Punishment [DE 168] is DENIED.         IT IS FURTHER ORDERED that this

matter shall stand as scheduled for a pretrial conference for

Friday, March 16, 2012 at 9:00 a.m.

        This the 15th day of March, 2012.




his convictions in the earlier state cases.      He would rely on
Boykin v. Alabama, 395 U.S. 238 (1969), which requires a person to
be apprised of the subsequent effects of any conviction and the
consequences which may arise therefrom.
